                    Case 1:21-cv-01104-LMM Document 1-1 Filed 03/18/21 Page 1 of 6                                 E-FILED IN OFFICE-CP
                                                                                                                 CLERK OF STATE COURT
                                                                                                             GWINNETT COUNTY, GEORGIA
                                                                                                                        20-C-01196-S5
                                                                                                                   2/19/202011:00 AM
                                     IN THE STATE COURT OF GWINNETT COUNTY

                                                         STATE OF GEORGIA                                              .ERKOF       COORT


  Sarah Banderas-Mendez
  14 Palace Dr.
  Conyers, Ga.                                                                       CIVIL ACTION
                                                                                     NUMBER:____ 20-C-01196-S5
                                         PLAINTIFF


                           VS.
  Panda Restaurant Group, Inc., dba Panda Express, Inc

  c/o RA CT Corporation System
 289 S Culver St, Lawrehceville, Ga. 30046


                                       DEFENDANT




                                                             SUMMONS

 TO THE ABOVE NAMED DEFENDANT:

and addresstsf**^ summoned and required to file with the Clerk of said court and serve upon the Plaintiffs attorney, whose name
                                                                   • ^
                                                         ;   Timothy J. SantelH
                                                               P.O. Box 19713
                                                              Atlanta, Ga. 30325

an answer to the complaint which is herewith served upon you.'within 30 days after service of this summons upon you, exclusive of
the day of service. If you fail to do so, judgment by default will he taken against you for the relief demanded in the complaint.

This 19                       day of February                                    292SL.

                                                                           Richard T. Alexander, Jr.,
                                                                           Clerk of State Court


                                                                                                                   /
                                                                           By.
                                                                                      Vj^piity Clerk 9       7
INSTRUCTIONS: Attach addendum sheet for additional p.'trties if needed, make notation on this sheet if addendum sheet is used.

SC-1 Rev. 2011
                                                                                                               (
    Case 1:21-cv-01104-LMM Document 1-1 Filed 03/18/21 Page 2 of 6                        E-FILED IN OFFICE - CP
                                                                                        CLERK OF STATE COURT
                                                                                    GWINNETT COUNTY. GEORGIA
                                                                                             20-C-01196-S5
                                                                                        2/19/202011:00 AM

                  IN THE STATE COURT OF GWINNETT COUNTY
                                                                                             IK OF       COkfRT
                             STATE OF GEORGIA

SARAH BANDERAS-MENDEZ

                 Plaintiff,

          vs.                                     CIVIL ACTION #            20-C-01196-S5

PANDA RESTAURANT GROUP, INC, dba
PANDA EXPRESS, INC., PANDA
EXPRESS, INC., ALEX DOE And JOHN
DOE 1-2

                 Defendants


                              COMPLAINT FOR DAMAGES


                               Facts, Parties & Jurisdiction
                                                                                                     /
                                             1.

          SARAH BANDERAS-MENDEZ is the plaintiff who resides at 14 Palace Dr.,

Conyers, Ga., and is subject to the jurisdiction and venue of this Court.

                                             2.
      I
          DEFENDANT, PANDA RESTAURANT GROUP, INC, dba PANDA
EXPRESS, INC is a foreign corporation doing business in Georgia. PANDA

RESTAURANT GROUP, INC, dba PANDA EXPRESS, INC is the corporate name

for a Panda Express located 1830 Scenic Highway, Snellville, Ga. and can be served via

their registered agent CT Corporation System, 289 S. Culvert Street, Lawrenceville, Ga.

30046 in Gwinnett county. The defendant is subject to the jurisdiction as well as venue

of this court.

                                             3.
    Case 1:21-cv-01104-LMM Document 1-1 Filed 03/18/21 Page 3 of 6




       DEFENDANT, PANDA EXPRESS, INC is a foreign corporation doing business

in Georgia. PANDA EXPRESS, INC is the corporate name for a Panda Express located

1830 Scenic Highway, Snellville, Ga. and can be served via their registered agent CT

Corporation System, 289 S. Culvert Street, Lawrenceville, Ga. 30046 in Gwinnett

county. The defendant is subject to the jurisdiction as well as venue of this court.

                                              4.

       DEFENDANT, ALEX DOE is a the unnamed manager of the Panda Express

located 1830 Scenic Highway, Snellville, Ga. and can be served there in Gwinnet county.

The defendant is subject to the jurisdiction as well as venue of this court.

                                              5.

       John Doe 1-2 are individual(s), partnership (s), limited partnership (s).

entity/entities, and/or corporation (s), other than the named defendant, who managed

and/or maintained and/or “housekept” the premises where Plaintiff fell, and/or created the

hazard that caused Plaintiffs injuries, on December 1, 2018. Once served with process.

Defendant(s) JOHN DOE 1-2 is/are subject to the jurisdiction and venue of this Court.

                                          FACTS

                                             6.

       Plaintiff, SARAH BANDERAS-MENDEZ was a customer at the Panda Express

located at 1830 Scenic Highway, Snellville, Ga., on December 1,2018.

                                             7.

       Plaintiff, SARAH BANDERAS-MENDEZ was in the process of entering the

bathroom when she slipped and fell on an accumulation of water.
                                                                                             f
                                                   8.
                                                                                             1
    Case 1:21-cv-01104-LMM Document 1-1 Filed 03/18/21 Page 4 of 6




        The plaintiff did nothing to cause her fall.

                                                    9.

        At all times relevant to this action the plaintiff was an invitee upon the premises

of the hotel.

                                                    10.

        At all times relevant to this action the plaintiff exercised due care for her safety.

                                                    11.

        As a result of the defendants’ negligence the Plaintiff suffered physical injuries.

                                                    12.

        As a result of the defendants’ negligence the Plaintiff suffered and continues to

suffer bodily injury, diminished quality of life, a permanent injury, and incurred medical

expenses.

                                  COUNT!
                                NEGLIGENCE
                     FAILURE TO MAINTAIN SAFE PREMISES

                                              13.

        Plaintiff re-alleges and re-avers paragraphs 1-13 as if recounted herein.

                                              14.

        The defendants as joint tortfeasors breached their duty to the general public and

plaintiff herein by failing to maintain a safe premise causing the plaintiffs injuries.

                                              15.

        As a result. Plaintiff suffered physical injuries.

                                       COUNTn
                                   FAILURE TO WARN

                                              16.
   Case 1:21-cv-01104-LMM Document 1-1 Filed 03/18/21 Page 5 of 6




       Plaintiff re-alleges and re-avers paragraphs 1-16 as if recounted herein.

                                             17.

       The defendants breached their duty to the general public and plaintiff herein by

failing to warn of the unsafe and hazardous defect.

                                             18.

       As a result, plaintiff suffered physical injuries to his body.

                                     COUNT III
                                  CODE VIOLATIONS

                                             19.

       Plaintiff re-alleges and re-avers paragraphs 1-19 as if recounted herein.

                                             20.

       OCGA 5-3-1 codifies a landowner’s duty to the public.

                                             21.


       The defendants breached their duty to the general public and plaintiff herein by

failing to adhere to OCGA 51-3-1.

                                             22.

       As a result, plaintiff suffered physical injuries to her body.

                                  PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully pray and demand as follows:

   a) That process and summons issue, as provided by law, requiring defendants to
       appear and answer Plaintiffs Complaint;
   b) That the defendants answer the discovery and admissions;
   c) That service be had upon the defendants as provided by law;
   Case 1:21-cv-01104-LMM Document 1-1 Filed 03/18/21 Page 6 of 6




   d) That the Court award and enter a judgment in favor of Plaintiffs against
       defendants for compensatory damages in amounts to be proven at trial;
   e) That Plaintiff receive the cost of this action and interest;
   f) That Plaintiffhave a trial by jury as to all issues; and
   g) That Plaintiff has such other and further relief as the Court may deem just and
       proper.
       This 19 day of February, 2020.

                                          By:s/Timothy J. Santelli______
                                             Timothy J. Santelli
                                             Attorney for the Plaintiff
                                             Georgia State Bar No. 626166
Law Office of Timothy J. Santelli, PC
P.O. Box 19713
Atlanta, GA 30325
Telephone:    (404)351-8259
Facsimile:    (404) 577-2293
